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AFFIDAVIT OF PROCESS SERVER

United States District Court for the District of Columbia

Scott C. Smith Attorney: Devin Stone
Plaintiff(s), Sanford Law Firm
we 10800 Financial Centre Pkwy, Suite 510
Little Rock AR 72211

George Anthony Devolder-Santos, in his official
capacity as U.S, Representative

Defendant(s). #361788

Case Number: 1:23-cv-02002-TNM

Legal documents received by Same Day Process Service, Inc. on 08/11/2023 at 1:28 PM to be served upon George
Anthony Devolder-Santos, in his official capacity as U.S. Representative at 82 I St., SE, #402, Washington, DC
20003

I, Stuart Macpherson, swear and affirm that on August 17, 2023 at 9:45 AM, I did the following:

Personally Served George Anthony Devolder-Santos, in his official capacity as U.S. Representative the person
listed as the intended recipient of the legal document with this Summons in a Civil Action; First Amended
Complaint for Declaratory and Injunctive Relief; Complaint for Declaratory and Injunctive Relief at 82 I St.,
SE, #402 , Washington, DC 20003.

Description of Person Accepting Service:
Sex: Male Age: 35 Height: Over 6ft Weight: Over 200 Ibs Skin Color: Hispanic Hair Color: Black & Brown

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

ZA, i Internal Job

Stuart Macpher; on 1D:301780
Process Seen

Same Day Process Service, Inc. "a
1413 K St., NW, 7th Floor

Washington DC 20005

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